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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

FEDERAL TRADE COMMISSION,                         )
STATE OF FLORIDA, OFFICE OF THE                   )
ATTORNEY GENERAL, DEPARTMENT                      )
OF LEGAL AFFAIRS,                                 )       Case No. 15cv5781
                                                  )
                      Plaintiffs,                 )
                                                  )       Judge Gary Feinerman
               v.                                 )
                                                  )
 LIFEWATCH INC., a New York corporation,          )
also d/b/a LIFEWATCH USA and MEDICAL              )
ALARM SYSTEMS,                                    )
                                                  )       ORAL ARGUMENT REQUESTED
SAFE HOME SECURITY, INC., a                       )
Connecticut corporation,                          )
                                                  )
MEDGUARD ALERT, INC., a Connecticut               )
corporation,                                      )
                                                  )
EVAN SIRLIN, individually and as an officer       )
or manager of Lifewatch Inc.,                     )
                                                  )
MITCHEL MAY, individually and as an officer or )
manager of Lifewatch Inc., and                    )
                                                  )
DAVID ROMAN, individually and as an officer       )
or manager of Lifewatch Inc., Safe Home Security, )
Inc., and Medguard Alert, Inc.                    )
                      Defendants.                 )
__________________________________________)


      DEFENDANT MITCHEL MAY’S MOTION FOR SUMMARY JUDGMENT

        Defendant Mitchel May, by his attorneys, moves this court for entry of an order granting

summary judgment on all counts, and in support thereof submits his Memorandum of Law in

Support of the Motion for Summary Judgment and his Rule 56.1(a) Statement of Undisputed Facts.
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       WHEREFORE, Mitchel May, respectfully requests that this Court grant the motion for

summary judgment against Plaintiffs, the Federal Trade Commission and State of Florida, and for

such other relief as this Court deems just and proper.

DATED: December 27, 2017

                                              By: Joseph Lipari
                                              /s/ Joseph Lipari
                                              One of Mitchel May’s Attorneys
                                              Jason Sultzer, Esq. (pro hac vice)
                                              Joseph Lipari, Esq. (pro hac vice)
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